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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
NORTHERN DIVISION

IN RE ELIJAH AND MARY
STINY TRUSTS No. 3:19-cv-346-DPM

ORDER

Motion for substitution, Doc. 114, noted. The presumptive
substitution period is extended to 14 June 2021 so that the Court can
hear from Jason Wood and have adequate time to rule on the motion.
The Clerk’s office has informed the Court that counsel for Alexis Stiny,
Andrew Stiny, and Eli Stiny recently requested a summons for Wood.
No summons is needed at this point. If it has not already been done,
Doc. 114 should be provided to Wood and his lawyer ASAP. The Court
looks forward to the trustee’s 14 May 2021 status report.

So Ordered.

D.P. Marshall Jr. ©
United States District Judge

 

 
